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                         UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF PENNSYLVANIA


In re: MICHELLE E. MORAN                     §       Case No. 17-bk-11612
                                             §
                                             §
             Debtor(s)                       §
        CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT


William C Miller, Chapter 13 Trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C § 1302(b)(1). The Trustee declares as follows:

       1) The case was filed on 03/08/2017.

       2) The plan was confirmed on 10/19/2017.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C § 1329 on
          NA.

       4) The Trustee filed action to remedy default by the debtor(s) in performance under the
          plan on NA.

       5) The case was dismissed on 01/25/2018.

       6) Number of months from filing or conversion to last payment: 7.

       7) Number of months case was pending: 10.

       8) Total value of assets abandoned by court order: NA.

       9) Total value of assets exempted: $11,912.40.

       10) Amount of unsecured claims discharged without full payment: $0.00.

       11) All checks distributed by the Trustee relating to this case have cleared the bank.




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Receipts:
      Total paid by or on behalf of the debtor(s)             $ 2,607.00
      Less amount refunded to debtor(s)                         $ 207.00
NET RECEIPTS                                                                        $ 2,400.00



Expenses of Administration:

       Attorney's Fees Paid Through the Plan                  $ 2,224.80
       Court Costs                                                 $ 0.00
       Trustee Expenses & Compensation                          $ 175.20
       Other                                                       $ 0.00

TOTAL EXPENSES OF ADMINISTRATION                                                    $ 2,400.00

Attorney fees paid and disclosed by debtor(s):                       $ 0.00



Scheduled Creditors:
Creditor                                       Claim         Claim          Claim   Principal    Interest
Name                               Class    Scheduled     Asserted       Allowed        Paid        Paid
CIBIK & CATALDO                    Lgl           0.00          NA             NA    2,224.80        0.00
PHILA. FEDERAL CREDIT UNION        Uns           0.00     2,111.07       2,111.07       0.00        0.00
ONEMAIN FINANCIAL INC              Sec           0.00    14,700.00      14,700.00       0.00        0.00
ONEMAIN FINANCIAL INC              Uns           0.00     1,490.09       1,490.09       0.00        0.00
TD BANK USA N.A.                   Uns           0.00       534.09         534.09       0.00        0.00
M&T BANK                           Sec           0.00   140,244.94     140,244.94       0.00        0.00
PGW                                Uns           0.00       619.72         619.72       0.00        0.00
POLICE & FIRE CREDIT UNION         Uns           0.00     5,032.83       5,032.83       0.00        0.00
POLICE & FIRE CREDIT UNION         Uns           0.00     2,093.77       2,093.77       0.00        0.00
PORTFOLIO RECOVERY ASSO            Uns           0.00       387.71         387.71       0.00        0.00
PORTFOLIO RECOVERY ASSO            Uns           0.00       433.61         433.61       0.00        0.00
CITY OF PHILA (REAL ESTATE)        Sec           0.00       299.61         299.61       0.00        0.00




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Summary of Disbursements to Creditors:

                                               Claim            Principal         Interest
                                               Allowed          Paid              Paid
Secured Payments:
      Mortgage Ongoing                              $ 0.00          $ 0.00             $ 0.00
      Mortgage Arrearage                     $ 140,244.94           $ 0.00             $ 0.00
      Debt Secured by Vehicle                       $ 0.00          $ 0.00             $ 0.00
      All Other Secured                       $ 14,999.61           $ 0.00             $ 0.00
TOTAL SECURED:                               $ 155,244.55           $ 0.00             $ 0.00

Priority Unsecured Payments:
        Domestic Support Arrearage                 $ 0.00           $ 0.00             $ 0.00
        Domestic Support Ongoing                   $ 0.00           $ 0.00             $ 0.00
        All Other Priority                         $ 0.00           $ 0.00             $ 0.00
TOTAL PRIORITY:                                    $ 0.00           $ 0.00             $ 0.00

GENERAL UNSECURED PAYMENTS:                   $ 12,702.89           $ 0.00             $ 0.00



Disbursements:

       Expenses of Administration              $ 2,400.00
       Disbursements to Creditors                   $ 0.00

TOTAL DISBURSEMENTS:                                            $ 2,400.00




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        12) The Trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the Trustee is responsible have been completed. The Trustee
requests a final decree be entered that discharges the Trustee and grants such other relief as may
be just and proper.




Date: 01/30/2018                        By: William C. Miller
                                             Chapter 13 Standing Trustee

STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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